      Case 3:23-cv-00342-JKM            Document 37         Filed 11/06/24       Page 1 of 19




                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

MARIO CASTRO,                                                   No. 3:23cv342
            Plaintiff
                                                                (Judge Munley)
       V.

CHRISTOPHER DEBIAS, a law
enforcement officer now or formerly
working for the Borough of Hazleton, :
Pennsylvania, in his personal
capacity only,
                Defendant
......................................... ...................................................................
.................... ........................................................ ..... ........... ............... .
                                            MEMORANDUM

        Before the court is a motion for partial reconsideration filed by the

defendant in this action filed pursuant to 42 U.S.C . § 1983 ("Section 1983").

(Doc. 29). Previously, defendant filed a motion to seal and lim it the

dissemination of police bodycam videos of the incident prompting this civil rights

lawsuit. (Doc. 21 ). By way of memorandum and order dated August 29, 2024 ,

defendant's motion was denied. (Docs. 27-28). Defendant now seeks to file

edited versions of the bodycam videos and has styled his motion as either one

for reconsideration or as a renewed request for a protective order. 1 In

furtherance of the request, the defendant officer has supplied edited and


1 As ind icated in the previous memorandum , defendant is not really seeking a protective order

regarding information exchanged in discovery. He is now seeking to file edited portions of
videos on the public docket in support of a converted motion for summary judgment on the
issue of qualified immunity.
      Case 3:23-cv-00342-JKM       Document 37     Filed 11/06/24    Page 2 of 19




unedited versions of three (3) bodycam videos for in camera review. Defendant's

motion is now ripe for a decision.

Background

       Plaintiff filed this civil rights action alleging violations of his First and Fourth

Amendment rights . (Doc. 1, Com pl.). In his complaint, plaintiff alleges that he

travelled to Hazleton City Hall in March 2021 to inquire about a report of assault

he made to the Hazleton Police Department several days earlier. 2 (!fl ,I 7).

Once there , he used a phone in a hallway to contact a member of the police

department. (!fl ,I 8). Defendant, a city police officer, emerged from behind a

closed , locked door. (!fl ,I 9). Plaintiff then inquired into the status of the report

he previously made. (!fl ,I 10). Defendant advised plaintiff that the investigating

officer was on vacation. (!fl ,I,I 11-12). After additional dialogue, defendant

turned to leave back through the secure door. (!fl ,I 13). Plaintiff alleges the

following exchange then occurred:

             [Plaintiff] asked, "What's your name and password?" [sic]

             [Defendant] responded , "162 ."

             [Plaintiff] again asked , "What's your name?"

             [Defendant] again stated, "162."


2
 The facts in this matter remain disputed . These background facts are derived from plaintiff's
complaint. In resolving the instant motion , the court takes no position as to the ultimate
veracity of plaintiff's allegations.
                                               2
        Case 3:23-cv-00342-JKM        Document 37      Filed 11/06/24    Page 3 of 19




                As the self-locking door was closing behind [Defendant] ,
                [Plaintiff] said , "That's your name - 162? Asshole ."

(kl 1l1l 14-20).

         As plaintiff headed toward the nearest exit, defendant came back out from

behind the secure door and approached plaintiff. (kl ,r,r 21-22). Defendant then

told plaintiff: "Watch you r step on this if you don't want to get arrested! Watch

your step! I told you what to do, okay?" (kl ,r 23). Plaintiff, "taken aback, stated ,

'Go ahead , arrest me.'" (kl ,r 24). Defendant then demanded that plaintiff "leave

City Hall. " (kl ,r 25). After additional "agitated words," defendant commanded

"OUT! " at plaintiff. 3 (kl ,r 26).

         Plaintiff avers that he did not comply with the defendant officer's directives.

(kl ,r 27). As alleged by plaintiff, "within a second[,]" defendant placed his hands

on plaintiff and pushed him toward the exit. (kl) Plaintiff avers that the defendant

officer screamed at him and pushed him to the ground , "[a]ngry that [plaintiff] was

not leaving merely upon his lawless command[.]" (kl ,r,r 27-28). Defendant then

placed plaintiff in handcuffs and brought him behind the secure door where

plaintiff stayed for an unspecified period of time until he was released. (kl ,r,r 28-

29). Per plaintiff, the defendant did not explain the reason for plaintiff's arrest.




3
    Plaintiff does not specify the speaker of these "agitated words" in his complaint.
                                                  3
     Case 3:23-cv-00342-JKM     Document 37    Filed 11/06/24   Page 4 of 19




(~ ,I 29). Plaintiff also alleges that the defendant officer broke plaintiff's camera,

which was on plaintiff's body during the incident. (~ ,I 28).

      Count I of plaintiff's complaint asserts a cause of action for false arrest in

violation of his Fourth Amendment rights . (~ ,I,I 33-34). In Count II , plaintiff

brings a claim for retaliatory arrest in violation of his First and Fourth Amendment

rights. (~ ,I,I 36-40).

      Defendant initially filed a motion to dismiss plaintiff's Section 1983 claims

pursuant to Federal Rule of Civil Procedure 12(b )(6). (Doc. 6). Based on the

existence of videos of the incident recorded by the parties , the court converted

the motion to a motion for summary judgment pursuant to Federal Rule of Civil

Procedure 12(d). (Doc. 16). The defendant officer then filed an initial motion

seeking to fully restrict public access to the bodycam videos . Defendant,

however, did not provide the videos for review. (Doc. 27 at 10). The defendant

officer also did not request any alternate relief such as filing the videos with

redaction , i.e. , blurring certain portions of the video and/or censoring certain

audio. (~ at 11 , n. 4).

      After the above motion to preclude public access was denied , the

defendant filed the instant motion for partial reconsideration . (Doc. 29). Having

the benefit of the court's prior analysis, defendant now seeks to file the bodycam




                                           4
     Case 3:23-cv-00342-JKM      Document 37     Filed 11/06/24   Page 5 of 19




videos with ten (10) edits and has supplied redacted and unredacted versions of

these videos for an in camera review.

      Plaintiff has agreed not to contest nine (9) of the proposed edits. (Doc. 35

at 2). The remaining issue, at least between the plaintiff and defendant, is

whether the name of a third party should be muted when an earlier incident is

discussed by the defendant and other officers in one of the bodycam videos. 4

That issue has been fully briefed , bringing this case to its present posture.

Jurisdiction

      As this action was filed pursuant to Section 1983, the court has jurisdiction

under 28 U.S.C. § 1331 ("The district courts shall have original jurisdiction of all

civil actions arising under the Constitution , laws, or treaties of the United

States."). Furthermore, the court has jurisdiction pursuant to 28 U.S.C . §

1343(a).

Analysis

      Defendant has filed a motion for reconsideration. "The purpose of a motion

for reconsideration ... is to correct manifest errors of law or fact or to present

newly discovered evidence ." Max's Seafood Cafe ex rel. Lou-Ann, Inc. v.

Quinteros, 176 F.3d 669 , 677 (3d Cir. 1999)(quoting Harsco Corp. v. Zlotnicki ,



4
 The court uses the term muted for convenience. To be more precise , the defendant officer
proposes to replace certain audio with a censoring beep.
                                             5
     Case 3:23-cv-00342-JKM     Document 37    Filed 11/06/24   Page 6 of 19




779 F.2d 906 , 909 (3d Cir. 1985)(internal quotation marks omitted). The movant

must demonstrate one of three grounds in order for such a motion to be granted :

(1) an intervening change in controlling law; (2) the availability of new evidence

not previously available ; or (3) the need to correct a clear error of law or to

prevent manifest injustice. ~

      In the instant motion, defendant asserts that he cannot produce and make

public the unredacted bodycam videos without: 1) revealing sensitive security

information related to Hazelton City Hall ; 2) risking the safety of other police

officers through the dissemination of their personal information ; and 3) violating

the privacy of non-parties to this action . (Doc. 33. Def. Br. in Supp. at 4 ).

Defendant thus argues that reconsideration is necessary to prevent man ifest

injustice.

1. The Right of Access to Judicial Records

      As previously indicated , the bodycam videos would be filed of record in

support of the defendant's motion for summary judgment. The Third Circuit

Court of Appeals has long recognized a common law right to public access to all

judicial records , proceedings, opinions and orders and related plead ings and

exhibits. See In re Avandia Mktg ., Sales Pracs. & Prod . Liab. Litig. , 924 F.3d 662 ,

672 , 675 (3d Cir. 2019); Rep. of Philippines v. Westinghouse Elec. Corp., 949

F.2d 653, 659 (3d Cir. 1991); Littlejohn v. Bic Corp., 851 F.2d 673, 677- 78 (3d

                                           6
      Case 3:23-cv-00342-JKM        Document 37      Filed 11/06/24    Page 7 of 19




Cir. 1988)). Documents filed in connection with a motion for summary judgment

are judicial records. 5 In re Avandia , 924 F.3d at 672 , 675 (citation omitted). Once

a document becomes a judicial record , a presumption of access attaches. Id. at

672 (citing In re Cendant Corp. , 260 F.3d at 192).

       The right of access strengthens public confidence in the courts and "public

observation diminishes possibilities for injustice, incompetence, perjury, and

fraud ." In re Cendant Corp. , 260 F.3d 183, 192 (3d Cir. 2001)(quoting Littlejohn ,

851 F.2d at 677-78. Moreover, "the need for public scrutiny is at its zenith when

the motion is dispositive. " Mine Safety Appliances Co. v. N. River Ins. Co ., 73 F.

Supp. 3d 544 , 559 (W.D. Pa. 2014). The defendant officer is also a public

employee, and "[t]he public's interest is particularly legitimate and important

where, as in this case , at least one of the parties to the action is a public entity or

official. " Pansy v. Borough of Stroudsburg , 23 F.3d 772 , 786 (3d Cir. 1994).

       Thus , there is a "strong presumption" of access, "with a thumb on the scale

in favor of openness[.]" In re Avandia , 924 F.3d at 672 , 675 (citation omitted).

The common law right of access , however, is not absolute and the presumption



5
  Since the bodycam videos were supplied to the court in conjunction with the motion for
reconsideration , they are now judicial records . See In re Avandia , 924 F.3d at 672 (A 'judicial
record ' is a document that 'has been filed with the court ... or otherwise somehow
incorporated or integrated into a district court's adjudicatory proceedings.' ") (quoting lo.
re Cendant Corp. , 260 F.3d 183, 192 (3d Cir. 2001 )(emphasis added)) .



                                                7
       Case 3:23-cv-00342-JKM    Document 37    Filed 11/06/24      Page 8 of 19




may be rebutted. ~ at 672. "The party seeking to overcome the presumption of

access bears the burden of showing 'that the interest in secrecy outweighs the

presumption. '" ~ (quoting Bank of Am. Nat'I. Tr. & Sav. Ass'n v. Hotel

Rittenhouse Assocs., 800 F.2d 339, 343 (3d Cir. 1986)). Specifically, the moving

party must show that the material it seeks to limit is information that courts will

protect, and that disclosure of the information will work a clearly defined and

serious injury to the party seeking closure. ~ (citation omitted). Broad, vague,

and conclusory allegations of harm are insufficient.~ at 674 , 678 (citations

omitted) . Concerns about public image, embarrassment, or reputational injury,

without more, are insufficient. 19..: at 676 (citations omitted).

       When considering requests to limit disclosure, district courts must make

specific factual findings and articulate the countervailing interests in secrecy

sufficient for a reviewing court to determine whether a limiting order was properly

entered. Id. at 674. Such a process requires an exacting analysis.~ at 673,

677.

       Translating the above standard to the instant dispute, the defendant seeks

to file edited versions of three (3) bodycam videos in lieu of the full versions.

Thinking of these videos as documents, the issue before the court is more akin to

filing three unredacted documents under seal in support of the motion for

summary judgment, while permitting public access to three redacted versions .

                                            8
     Case 3:23-cv-00342-JKM    Document 37     Filed 11/06/24   Page 9 of 19




2. The Edits Not in Dispute

      Defendant has made ten (10) proposed edits to the bodycam videos and

nine (9) are unopposed . Nonetheless, "the strong presumption of openness

inherent in the common law right of access 'disallows the routine and perfunctory

closing of judicial records. '" kl at 677 (citing In re Cendant Corp., 260 F.3d at

193- 94 ). District courts are directed to engage in "careful factfinding and

balancing of competing interests" through a "document-by-document review. " lit

at 673 (quoting Leucadia, Inc. v. Applied Extrusion Techs., Inc. , 998 F.2d 157,

167 (3d Cir. 1993)). Moreover, "the court has an inherent obligation to review

and supervise the files being placed on its docket and a concomitant obl igation to

assure that the use of its authority to keep matters from public scrutiny" is

properly being employed . Mine Safety Appliances Co ., 73 F. Supp. 3d at 557

(citing Leucad ia, Inc., 998 F.2d at 166). Regardless of the plaintiff's partial

concurrence, the court must make specific findings prior to limiting any evidence

in support of summary judgment on the public docket. The court proceeds

accordingly after an in camera review of the edited and unedited versions of the

videos.

      Several portions of the videos depict an area within the police department

where monitors display feeds from surveillance cameras within Hazleton City Hall




                                          9
    Case 3:23-cv-00342-JKM          Document 37         Filed 11/06/24   Page 10 of 19




and from cameras throughout the City of Hazleton. Specifically, those portions

include:

      For the video named Disorderly Conduct City Hall:

               1)     09:56-
               2)     11 :00- 16:44
               3)     17:08- 17: 14

               For the video named Disorderly City Hall :

               4)     00:00- 00:37
               5)     00:46-00:58
               6)     01 :55-01 :56
               7)     04:09-04:12

               For the video named Disorderly Person :

               8)     00:00-00: 11

(Doc. 29 ,   ,m 14a(i ,iii , iv), 14b(i-iv), 14c(i)).
      Defendant asserts that blurring these portions of the videos would protect

the security of Hazleton City Hall . Additionally, several of the above portions

(Portions #2 , #3 , #4, #8) include footage of non-public work areas of the police

department where documents are posted on walls and piled on desks. One of

these portions (Portion #2) includes information displayed on the defendant

officer's computer monitor. In that same portion , the defendant officer handles

paperwork near where his bodycam is recording . In support of blurring these

portions, defendant further argues that these documents are visible and legible

and purport to contain information about ongoing criminal investigations.
                                                 10
    Case 3:23-cv-00342-JKM    Document 37     Filed 11/06/24   Page 11 of 19




Additionally, per defendant, the home phone numbers and addresses of police

officers are visible on some of the documents in the officer desk area. He argues

that the officers could be subject to identity theft and harassment if these portions

are not blurred and that such edits would protect the security of the officers and

their families . Likewise, per defendant, the information displayed on defendant's

computer screen should be obscured since it relates to other matters not

involving the plaintiff.

      After considering the defendant officer's arguments in conjunction with the

in camera review of the unredacted videos , the court concludes that the

defendant's safety and security concerns are overstated. Hazleton City Hall is a

municipal building generally open to the public. Defendant's arguments about

surveillance camera locations are not coupled with any actual evidence (such as

an affidavit) that the security of the building would be jeopardized if the public

caught glimpses of where those cameras were monitoring . Defendant does not

advance that the areas being monitored are not open to the public. Moreover,

there is nothing in this case to suggest that the building has any hidden security

cameras . The bodycam videos' illustration of the interior of the building suggests

the opposite, that the security cameras are in full view. (Disorderly Conduct

 City Hall 1:55 (a surveillance camera is visible behind the plaintiff near an exit




                                         11
    Case 3:23-cv-00342-JKM    Document 37     Filed 11/06/24   Page 12 of 19




door)). Consequently, defendant's arguments about protecting the safety of the

building fall short.

      Additionally, in the portions of the video depicting the defendant officer

walking around police workspaces or sitting at his desk, the court cannot discern

any sensitive information on any documents, even when the videos are slowed

down to a quarter-speed (.25x) or stopped on frames where documents come

into close view. The contents of these documents are grainy and pixelated.

Where these documents briefly become clear, they display innocuous

information. No names or phone numbers of officers or other third parties are

visible whatsoever. The court also cannot discern any information related to

other criminal investigations. No further blurring is thus necessary. The

resolution of the videos , the angle of the bodycam , and the defendant officer's

movements all achieve the same result as blurring.

      As for the matters displayed on the defendant's computer monitor, one

portion of the bodycam videos briefly displays a police incident log , presumably

for the date up to the time plaintiff arrived at the police department. This log

displays incident numbers, the type of call, times when the calls came in , the time

such calls were cleared , and the location of each incident. The log , however,

does not list any individual's name, whether that person be a caller, a suspect, or

a victim . To the extent that the court's determination requires "an opportunity for

                                         12
     Case 3:23-cv-00342-JKM       Document 37      Filed 11/06/24    Page 13 of 19




interested third parties to be heard[,)" the individuals involved in those incidents

are not identifiable based on the contents of that screen. Miller v. Indiana Hosp.,

16 F.3d 549, 551 (3d Cir. 1994)(citations omitted). Moreover, defendant has

failed to articulate a reason why dissemination of this log through the bodycam

video would cause anyone any specific injury. 6

       Having made only broad and conclusory allegations or allegations that do

not match what the bodycam videos reveal , the defendant officer has not

rebutted the presumption of openness buttressing the public's common law right

of access to judicial records . Thus , the requests to blur the surveillance camera

monitors and officer workspaces will be denied.7

3. The Edits in Dispute

      Defendant also seeks to blur and mute portions of the defendant officer's

bodycam video where he receives information about a prior incident involving the

plaintiff. Defendant seeks to file an edited version of the video named

Disorderly Conduct City Hall with muting at the following timestamps:

      9)     10:05- 10: 14

       10)   15:09- 15:51

6
  Shortly after the incident log was minimized on the computer screen , the defendant officer
accessed a police database. The defendant officer sea rched for information regarding the
plaintiff. There is no reason for that information to be blurred in the video .
7
  The cou rt need not reach a First Ame ndment analysis on these portions of the bodycam
videos .

                                              13
     Case 3:23-cv-00342-JKM       Document 37       Filed 11/06/24   Page 14 of 19




(Doc. 29, ,-r,r 14a(ii, iv)).8

       As alleged in his complaint, plaintiff went to Hazleton City Hall on the date

of his incident with the defendant "to inquire about the status of an investigation

into a report of assault he made to the Hazleton Police Department several days

earlier. " (Doc. 1, Campi. ,I 7). From the in camera review, this alleged assault of

the plaintiff occurred at a local Kentucky Fried Chicken ("KFC") restaurant a few

weeks prior. After plaintiff had been taken into custody for the events relative to

this matter, the defendant officer met with another responding officer and

discussed this earlier incident. Later in the video , the defendant officer is present

when other officers discuss the KFC incident in the desk-duty areas of the police

department. As part of his request to file the videos with edits , defendant seeks

to mute the name of the individual involved in the KFC incident. 9 Plaintiff

opposes and argues that the First Amendment right of public access requires

disclosure of that person's name. 10




8
 Pursuant to the analysis in Section 2, defendant is not permitted to blur any part of these
portions.
9
 In his reply brief, defendant seems to concede that general information about the incident
should be accessible by including a transcription of some of the redacted portions minus the
name of the individual involved. (Doc. 36 at 3)

10
  Plaintiff only opposes one of the proposed edits . This position appears inconsistent
considering the contents of the unredacted versions of the videos.
                                               14
    Case 3:23-cv-00342-JKM      Document 37     Filed 11/06/24   Page 15 of 19




      Before getting into the parties' First Amendment arguments , the common

law right of access presumes that general officer discussion about the earlier

incident should be open for public consumption. As with the above proposed

edits , the defendant has not met his burden to demonstrate that disclosure of

information about the incident will work a clearly defined and serious injury if

officer discussion about the incident is disclosed .

      Defendant, however, makes a compelling argument about not disclosing

the other individual's name as part of the general discussion about the KFC

incident. Defendant advances that this third party has a right to privacy that

outweighs the public's right to access an unredacted version of the bodycam

video. Defendant indicates that "[i]t is unclear whether charges were ever filed

against this other individual[.]" (Doc. 36, Def. Reply Br. at 3). Furthermore, per

defendant, "[i]f the information is published , this third party non litigant could suffer

irreparable harm to his reputation including with his peers , his current employer,

his job prospects , etc. if the information that he was being charged for assault is

made public and it did not or has not happened ." (~ at 4).

      After an in camera review, it is clear that the full name of the individual

accused of assault is mentioned by another officer and then that person 's last

name is mentioned again when he was discussing the KFC incident with the

defendant officer. (Disorderly Conduct City Hall 10:05-10: 14 ). That individual 's

                                           15
    Case 3:23-cv-00342-JKM    Document 37     Filed 11/06/24   Page 16 of 19




first name is twice-mentioned later by the same officer when discussing the

incident with the defendant officer and at least three other officers. (~ 15:09-

15:51 ). At the time the videos were filmed , there was a lack of certainty as to

whether that individual was going to be charged , that is, the investigation

remained open at the time, and the defendant officer told the plaintiff that the

investigating officer was on vacation.

      After careful consideration of the issue, the common law standard supports

muting that individual's name in the publicly filed bodycam video. Personal

identifying information of nonparties is precisely the kind of information that

courts will protect. See Mccowan v. City of Philadelphia, No. 2: 19-CV-03326-

KSM , 2021 WL 3737204 , at *3 (E .D. Pa. Aug. 24, 2021 )(Marston , J.)(collecting

cases). Moreover, in this instance, defendant has demonstrated that disclosure

would work a clearly defined and serious injury to that individual. That person is

not a party in this case. That person may not have been charged with assaulting

the plaintiff. Thus , defendant's arguments about that person's privacy interests

are persuasive as it relates to the common law standard.

      Plaintiff argues that this individual 's name should be disclosed under the

First Amendment public access standard. (Doc. 35, Pl. Br.in Opp. at 3-4). To

date, however, the Third Circuit Court of Appeals has not expressed an opinion




                                         16
    Case 3:23-cv-00342-JKM     Document 37     Filed 11/06/24   Page 17 of 19




as to whether the First Amendment right of public access extends to summary

judgment documents. In re Avandia, 924 F.3d at 680.

      To resolve this dispute, the court need not engage in an extended analysis

in the absence of further instruction from the appellate courts . Assuming that the

First Amendment right of public access extends to summary judgment records , a

restriction of such a right is evaluated using strict scrutiny principles. See id. at

673. The First Amendment right of public access is subject to an even stronger

presumption of openness and requires a much higher showing to rebut the

presumption. See & (citing In re Cendant Corp. , 260 F.3d at 198, n. 13). To

prevail , "[t]he party seeking closure may rebut the presumption of openness only

if' they are able "to demonstrate 'an overrid ing interest [in excluding the public]

based on findings that closure is essential to preserve higher values and is

narrowly tailored to serve that interest. '" ~ (quoting Publicker Indus., Inc. v.

Cohen , 733 F.2d 1059, 1061 (3d Cir. 1984 )(brackets in original).

      As discussed above, portions of the bodycam video discussing the earlier

incident identify a third party by name. That individual maintains a constitutional

right to privacy at some level. See C.N. v. Ridgewood Bd . of Educ., 430 F.3d

159, 179 (3d Cir. 2005)("'[T]he right not to have intimate facts concerning one's

life disclosed without one's consent' is 'a venerable [right] whose constitutional

significance we have recognized in the past. ' ")(quoting Bartnicki v. Vopper, 200

                                          17
    Case 3:23-cv-00342-JKM      Document 37      Filed 11/06/24   Page 18 of 19




F.3d 109, 122 (3d Cir. 1999), aff'd, 532 U.S. 514 (2001) (additional citation

omitted)).

      And contrary to the plaintiff's arguments, this matter involves more than

embarrassment to a third party. As before the court, this individual was accused

of a crime (by the plaintiff) and the Hazleton Police Department was investigating

at the time of the incident between the parties in this case. At this posture, there

is no evidence that this individual was charged with assaulting the plaintiff, let

alone convicted. Absent notice to this individual and an opportunity for that

person to waive their rights, restricting access to that person's name will protect

that individual's privacy interests.

      Additionally, this proposed edit is narrowly tailored. The individual's name

is mentioned for less than three (3) seconds in twenty-five (25) minutes of

bodycam footage . Accordingly, under common law and First Amendment public

access standards, defendant will be permitted to mute very brief moments of the

video where the full name, first name, or last name of a third-party is mentioned

by officers in relation to the incident that precipitated the encounter between the

parties at Hazleton City Hall. Such an outcome avoids a manifest injustice to the

third party not involved in this lawsuit.




                                            18
    Case 3:23-cv-00342-JKM    Document 37     Filed 11/06/24   Page 19 of 19




Conclusion

      For the reasons set forth above , the defendant's motion for partial

reconsideration will be granted in part and denied in part. The motion is granted

to the extent that the defendant, in support of summary judgment, may file sealed

original copies of the bodycam videos and unsealed versions muting the first and

last name of the individual involved in an earlier incident with the plaintiff. The

defendant's motion will be denied in all other respects. The deadlines for

submission of documents and supplemental briefs regarding the motion for

summary judgment will be reset with additional instructions. An appropriate order

follows.




                                         19
